Case 1:21-cr-00003-RCL Document 40-4 Filed 05/26/21 Page 1 of 6
Case 1:21-cr-00003-RCL Document 40-4 Filed 05/26/21 Page 2 of 6
Case 1:21-cr-00003-RCL Document 40-4 Filed 05/26/21 Page 3 of 6
Case 1:21-cr-00003-RCL Document 40-4 Filed 05/26/21 Page 4 of 6
Case 1:21-cr-00003-RCL Document 40-4 Filed 05/26/21 Page 5 of 6
Case 1:21-cr-00003-RCL Document 40-4 Filed 05/26/21 Page 6 of 6
